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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
                                    :
 UNITED STATES OF AMERICA           :    CRIMINAL NO: 23-CR-
                                    :
        v.                          :    MAGISTRATE NO. 22-MJ-258
                                    :
 JAMES MCNAMARA,                    :    VIOLATIONS:
 also known as “Mac,”               :    18 U.S.C. § 111(a)(1)
                                    :    (Assaulting, Resisting, or Impeding
           Defendant.               :    Certain Officers)
                                    :

                                        INFORMATION

        The United States Attorney charges:
                                               COUNT ONE

        On or about January 6, 2021, within the District of Columbia, JAMES MCNAMARA, also known

as “Mac,” did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and

employee of the United States, and of any branch of the United States Government (including any member

of the uniformed services), and any person assisting such an officer and employee, that is, G.P., an officer

from the Metropolitan Police Department, while such person was engaged in and on account of the

performance of official duties, and where the acts in violation of this section involve physical contact with

the victim and the intent to commit another felony.


        (Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United States
        Code, Section 111(a)(1))
                                                  MATTHEW M. GRAVES
                                                  United States Attorney
                                                  DC Bar No. 481052

                                         By:      /s/ Andrew J. Tessman
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